
Per Curiam,
We have examined the nine assignments of error in this case and do not see our way clear to sustain any one of them. The learned judge below sufficiently explained the nature of the adverse possession which would give the defendants below a right of way over the land in question. He said such use must be “ adverse, continuous, notorious and undisputed.” The jury could not have misunderstood this. It is true there is some obscurity in his answer to the defendants’ third point. Had he stopped with the affirmance of it there would have been no room for criticism. The obscurity is in the qualification of it. We do not see that the jury could have been misled, especially in view of the general charge upon this point, which is clear and accurate. We find no such error in this record as would justify a reversal.
Judgment affirmed.
